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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                           CASE NO. 22-81646-CIV-CANNON/Reinhart

  KAYLA RICHMOND,

         Plaintiff,
  v.

  EXCLUSIVE JETS, LLC,

        Defendant.
  _______________________________/

                  ORDER GRANTING JOINT MOTION [ECF No. 50]
            AND ENTERING AMENDED 1 ORDER SCHEDULING MEDIATION

         THIS MATTER comes before the Court upon the parties’ Joint Motion to Reschedule

  Mediation [ECF No. 50], filed on June 8, 2023. Upon review, the Joint Motion [ECF No. 50] is

  GRANTED as follows. Mediation in this case shall be held before Cathleen Scott on July 19,

  2023, 11:00 A.M., at 250 South Central Boulevard, Suite 104-A, Jupiter, Florida 33458. The

  parties are reminded that a report of their mediation must be filed within five (5) days of mediation.

  A mediation report filed by the mediator is insufficient to comply with this Order. The mediation

  report shall indicate when and where the mediation was conducted; the name of the

  mediator; who attended the mediation; whether the case settled (in full or in part); whether

  it was adjourned; or whether the mediator declared an impasse. No changes to any aspect

  of this Order may be made absent a properly filed motion for such relief and Court approval.




  1
    This Order supersedes the Court’s prior Order Granting Motion to Reschedule Mediation
  [ECF No. 29].
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                                                CASE NO. 22-81646-CIV-CANNON/Reinhart


        DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 9th day of June 2023.



                                                    _________________________________
                                                    AILEEN M. CANNON
                                                    UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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